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 6

 7
                          UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                 Cr.S. 09-409 JAM
10   UNITED STATES OF AMERICA,
11                Plaintiff,                     ORDER APPOINTING COUNSEL FOR
                                                 THE PURPOSES OF APPEAL
12         v.
13   DONALD MANN,
14                Defendant.
15

16 GOOD CAUSE APPEARING Attorney Krista Hart is appointed to represent Donald

17 Mann on the direct appeal to the Ninth Circuit Court of Appeals.

18 DATED: 3/21/2013

19

20                                                 /s/ John A. Mendez
                                                   The Hon. John A. Mendez
21                                                 US District Court Judge

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